






	

						










IN THE COURT OF CRIMINAL APPEALS

OF TEXAS





NO. 62,355-02





TERRENCE DALE MAYES, Relator



v.



THE 179TH DISTRICT COURT, Respondent





ON APPLICATION FOR A WRIT OF MANDAMUS


FROM HARRIS COUNTY






	Per curiam.


	

O R D E R


	


	This is an original application for a writ of mandamus.  Relator contends he
filed an application for a writ of habeas corpus in the 179th Judicial District Court of Harris
County, Texas. Relator also claims that the trial court entered an order designating issues on July
19, 2005.  Relator requests that this Court grant him leave to file his application for a writ of
mandamus to compel the trial court to forward his application for a writ of habeas corpus to the
Court of Criminal Appeals.

	Based on the foregoing, it is this Court's opinion that additional information
is required before a decision can be reached on the motion for leave to file the instant action.  The
Respondent, the 179th Judicial District Court of Harris County, is ordered to file with this Court,
within thirty days, a response by submitting the record on such habeas corpus application or a
copy of a timely filed order designating issues to be investigated, in addition to any extensions of
time or continuances that have been granted. McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim.
App. 1992).  The court may also respond by stating the nature of any applications filed by Relator,
such that they are not filed pursuant to Article 11.07, Section 3 of the Texas Code of Criminal
Procedure, or that no applications by Relator have been filed.  This application for writ of
mandamus is held in abeyance pending compliance with this order.


DELIVERED: February 8, 2006

DO NOT PUBLISH


